                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                               3:11-CR-00337-RJC-DSC-12
USA,                                               )
                                                   )
                Plaintiff,                         )
                                                   )
    v.                                             )           ORDER
                                                   )
CORVAIN T. COOPER,                                 )
                                                   )
                Defendant.                         )
                                                   )

         THIS MATTER is before the Court upon the defendant’s pro se appeal, (Doc. No. 221)

of the detention Order, (Doc. No. 191).1

         Counsel for the defendant filed a Notice of Appeal and Motion to Revoke Detention

Order on April 10, 2013. (Doc. No. 198). After the defendant received a copy of the motion

from counsel, he “decided to write [his] own.” (Doc. No. 221: Motion at 221). Prior to receiving

the defendant’s pro se motion, the Court denied the motion filed by counsel. (Doc. No. 199).

The Court has considered the materials submitted with the instant motion, the arguments of the

defendant, and the entire record of this case and finds no basis to reconsider its prior ruling.

         IT IS, THEREFORE, ORDERED that the defendant’s pro se appeal of the detention

order, (Doc. No. 221), is DENIED.

         The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.



1
   The defendant mistakenly filed the motion in the United States Court of Appeals for the
Fourth Circuit, which returned it to this Court for disposition. (Doc. No. 221: Letter from Clerk
of Court).


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                               Signed: July 8, 2013




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